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 4
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 5

 6                      IN THE UNITED STATES DISTRICT COURT FOR THE

7                                EASTERN DISTRICT OF CALIFORNIA
8
9
8
     UNITED STATES OF AMERICA,                              ) No. 2:10-CR-000347-MCE
 9
                                                            )
                    Plaintiff,                              )
10
                                                            ) STIPULATION AND ORDER TO MODIFY
            v.                                              ) CUSTODIANSHIP CONDITION OF
11
                                                            ) DEFENDANT’S RELEASE UNDER U.S.C.
     Jeremy Gachago, et al.,                                ) § 3142
12
                                                            )
                    Defendants.                             )
13
                                                            )
                                                            )
14

15
            It is hereby stipulated and agreed by and between plaintiff
16
     United States of America, on the one hand, and defendant Jeremy
17   Kamau Gachago, on the other hand, through their respective
18   attorneys, that the custodianship condition concerning
     defendant’s pretrial release under U.S.C. § 3142 be modified a
19
     follows: (1) to remove Rachel Boomhaurer as third party
20   custodian; and (2) to add, instead, defendant’s mother, Josephine
21   Kamau, as the new third party custodian.                          Further, it is hereby
     stipulated and agreed by and between plaintiff United States of
22
     America, on the one hand, and defendant Jeremy Kamau Gachago, on
23   the other hand, through their respective attorneys, that all other
24   conditions of defendant’s release shall remain in effect.

25   ///



     _________________________________________________________________________________________________________
                                                        1
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 1          The parties note that, United States Pretrial Services is
     agreeable to modifying the custodianship condition as
 2
     stipulated to herein based upon the following circumstances.
 3
     Defendant’s current third party custodian, Rachel Boomhaurer,
 4   will be moving out of her residence on February 1, 2011 and

 5
     states the custodianship arrangement is no longer practical for
     her due to her family obligations.                         Because Ms. Boomhaurer is
 6
     moving next week, Ms. Boomhaurer has requested approval from
 7   United States Pretrial Services to allow defendant to move into
 8   the home of his mother, Josephine Kamau, and his uncle, Eric
     Karanja, in Corona, California by this upcoming weekend, which
 9
     begins on Saturday, February 29, 2011.                           Defendant’s mother and
10   uncle have agreed to house defendant at their residence and to
11   allow the electronic monitoring equipment in the home.                                      Ms.
     Kamau, defendant’s mother, is willing and able to serve as
12
     defendant’s new third party custodian, and United States
13   Pretrial Services had deemed her to be an appropriate third
14   party custodian of defendant.

15

16   Dated:      January 25, 2010                         /s/ Michael Chastaine
                                                      By: _____________________
17                                                        MICHAEL CHASTAINE
                                                          Attorney for Defendant
18                                                        Jeremy Kamau Gachago

19

20   Dated:      January 25, 2010                           BENJAMIN B. WAGNER
                                                            UNITED STATES ATTORNEY
21
                                                            /s/ Todd Leras
22
                                                            _____________________
                                                            TODD LERAS
23
                                                            Assistant U.S. Attorney
24                                                          (per email authorization)

25




     _________________________________________________________________________________________________________
                                                        2
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 1                                                   ORDER

 2
            The Court, having received, read, and considered the
 3
     stipulation of the parties, and good cause appearing therefrom,
 4
     adopts the stipulation of the parties in its entirety as its
 5

 6
     order. Based on the stipulation of the parties and the

 7   recitation of facts contained therein, the Court finds that: the

 8   custodianship condition concerning defendant’s pretrial release

 9   under U.S.C. § 3142 be modified a follows: (1) Rachel Boomhaurer

10   shall be removed as third party custodian; and (2) Josephine

11   Kamau, defendant’s mother, shall be added as defendant’s new

12   third party custodian.

13          It is further ordered that all other previously established
14   conditions of defendant’s release shall remain in effect.
15
            It is so ordered.
16
     DATED: January 28, 2011
17
                                                __________________________________
18                                              MORRISON C. ENGLAND, JR
                                                UNITED STATES DISTRICT JUDGE
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